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                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
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10      CHRISTOPHER SMITH,
                                                            CASE NO. 3:20-cv-05494-JRC
11                            Plaintiff,
                                                            ORDER GRANTING UNOPPOSED
12              v.                                          MOTION FOR EXTENSION OF
                                                            TIME TO FILE ADMINISTRATIVE
13      COMMISSIONER OF SOCIAL                              RECORD
        SECURITY,
14
                               Defendant.
15          This matter is before the Court on defendant’s motion to extend the time in which to file

16   the Administrative Record (“AR”) in light of the COVID-19 outbreak’s impact on the

17   Commissioner’s operations. See Dkt. 15. Based on defendant’s motion and that plaintiff has no

18   opposition, the Court will grant the request. The AR is due December 11, 2020. If the AR

19   becomes available to the Office of General Counsel before December 1, 2020, defendant shall

20   file the AR within 10 days of when it becomes available.

21          Dated this 5th day of November, 2020.

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23
                                                         A
                                                         J. Richard Creatura
                                                         United States Magistrate Judge
24
     ORDER GRANTING UNOPPOSED MOTION FOR
     EXTENSION OF TIME TO FILE ADMINISTRATIVE
     RECORD - 1
